                  Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 1 of 13




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 5
                                  UNITED STATES DISTRICT COURT
 6                               SOUTHERN DISTRICT OF NEW YORK
 7
 8   Manuel Ledesma, on behalf of themselves          )
     and others similarly situated,                   )
 9                                                    )
10   Plaintiffs,                                      )                   COMPLAINT
                                                      )
11                         -v-                        )
                                                      )
12                                                                JURY TRIAL DEMANDED
     A&G DELI GROCERY CORP and Alicia                 )
13   Fernandez, in their individual and               )
     professional capacity,                           )
14                                                    )
     Defendants.                                      )
15                                                    )
16                                                    )
                                                      )
17
18                                      NATURE OF THE ACTION
19           1.       Plaintiff Manuel Ledesma (collectively “Plaintiff”) bring this action under the
20
     Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 216 (b) in order to remedy Defendants’
21
     wrongful withholding of Plaintiffs' lawfully earned wages and overtime compensation.
22
23   Plaintiff also bring these claims under New York Labor Law ("NYLL"), Article 6, §§ 190 et

24   seq., and Article 19 §§ 650 et seq. as well as the supporting New York State Department of
25
     Labor Regulations for violations of minimum wages, overtime wages, spread-of-hours pay,
26
     and notice and record-keeping requirements.
27
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                 Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 2 of 13




                                              SUMMARY
 1
 2          2.       Plaintiff was employed by Defendants, A&G DELI GROCERY and Alicia

 3   Fernandez (collectively “Defendants”) as a cashier at the Deli and Produce Sections for
 4
     Defendants' Grocery Store located in the Bronx.
 5
            3.       Plaintiffs' job duties included, but were not limited to, receive money from
 6
 7   customers as a cashier and help in the produce and deli sections.

 8          4.       The restaurant has a time clock system intended for employees to clock in their
 9   hours, which Plaintiff did.
10
            5.       Plaintiff worked long hours exceeding fifty (50) hours per week for Defendants.
11
            6.       Defendants have repeatedly deprived Plaintiff of his lawfully earned wages,
12
13   overtime and spread-of-hours premium.

14          7.       The Individual Defendants are associated and are joint employers, act in the
15   interest of each other with respect to Corporate Defendants' employees and have common
16
     policies and practices as to wages and hours.
17
            8.       Defendants accepted the benefits of Plaintiffs' labor, and in return Plaintiff
18
19   received less than what was legally required in compensation.

20          9.       As a result of Defendants’ actions, Plaintiff has suffered great hardship and
21
     damages.
22
                                     JURISDICTION AND VENUE
23
24   Federal Question Jurisdiction and Supplemental Jurisdiction

25          10.      This Court has original subject matter jurisdiction over this action under 28
26   U.S.C. § 1331 because the civil action herein arises under the laws of the United States, namely,
27
     the Fair Labor Standards Act and 29 U.S.C. §201 et seq. Additionally, this Court also has
28
                                                       2
               Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 3 of 13




     supplemental jurisdiction over Plaintiffs' state law claims under 28 U.S.C. §1367.
 1
 2   Personal Jurisdiction

 3           11.      This Court may properly maintain personal jurisdiction over Defendants under
 4
     Rule 4 of the Federal Rules of Civil Procedure because Defendants’ contacts with this state and
 5
     this judicial district are sufficient for exercise of jurisdiction over Defendants so as to comply
 6
 7   with traditional notions of fair play and substantial justice.

 8   Venue
 9           12.      Venue is proper in the Southern District of New York under 8 U.S.C. §§1391 (b)
10
     (1) and (2) because Defendants reside and conduct business in this judicial district and because
11
     a substantial part of the acts or omissions giving rise to the claims set forth herein occurred in
12
13   this judicial district.

14                                             THE PARTIES
15                                                (Plaintiffs)
16   Manuel Ledesma

17           13.      Plaintiff Manuel Ledesma (“Ledesma”) is an adult individual residing in the state
18
     of New York, County of Bronx.
19
             14.      Ledesma is a covered employee within the meaning of the FLSA and the NYLL.
20
             15.      Ledesma worked for Defendants from July 20, 201 until on or about October
21
22   2021.

23           16.      Ledesma was employed at A&G Delivery Grocery a retail food store owned by
24
     Defendants, located at 950 E 163rd St, Bronx, NY 10459.
25
             17.      Ledesma's duties included but were not limited to being a casher, deli and produce
26
27   worker.

28           18.      During the period of his employment with Defendants, Ledesma worked six (6)
                                                        3
               Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 4 of 13




     days per week for nine (9) hours per day, with (15) fifteen-minute daily breaks.
 1
 2          19.     Ledesma was scheduled to work from 9 a.m. to 6 p.m. Nevertheless, Ledesma

 3   was frequently (almost daily) required to stay working past his shift to attend to customers.
 4
            20.     Ledesma was compensated at a rate of Five Hundred dollars ($500) per week,
 5
     irrespective of how many hours he worked per week.
 6
 7          21.      In January of 2021 he was paid Six Hundred Dollars ($600) per week.

 8          22.     Defendant repeatedly suffered or permitted Ledesma to work over fifty (50) hours
 9   per week, which is in excess of the standard forty (40) hours per week, as a food store worker
10
     without paying him the appropriate premium overtime pay of one- and one-half times the
11
     statutory minimum.
12
13          23.     Ledesma was not provided with a notice containing the rate and basis of his pay;

14   the designated pay date; and the employer's name, address and telephone number at the time of
15   hiring or at any point thereafter.
16
            24.     Ledesma was never provided with wage statements detailing dates worked,
17
     money received and the employer's details at any point during the time of his employment with
18
19   Defendants.

20          25.     Upon information and belief, while Defendants employed Ledesma, they failed
21
     to post notices explaining the minimum wage rights of employees under the FLSA and NYLL
22
     and failed to inform Ledesma of such rights.
23
24          26.     Throughout the duration of his employment, Ledesma did not have any

25   supervisory authority nor did he exercise discretion or independent judgment with respect to
26   matters of significance.
27
            27.     Ledesma consented in writing to be a party to the FLSA claims in this action,
28
                                                      4
              Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 5 of 13




     pursuant to 29 U.S.C. §216(b).
 1
 2                                           (Corporate Defendant)

 3   A&G DELI GROCERY CORP
 4
            28.     A&G DELI GROCERY CORP (“A&G”) is a retail food store.
 5
            29.     A&G owns and operates A&G Deli Grocery, a retail food store, located at 950 E
 6
 7   163rd St, Bronx, NY 10459.

 8          30.     At all relevant times, A&G was a covered employer and "an enterprise engaged
 9   in commerce" within the meaning of the FLSA and the NYLL.
10
            31.     At all relevant times, A&G maintained control, oversight, and direction over the
11
     Plaintiff, including timekeeping, payroll and other employment practices that applied to them.
12
13          32.     Upon information and belief, at all relevant times, A&G's annual gross volume

14   of sales made, or business done, was not less than $500.000, exclusive of separate retail excise
15   taxes, within the meaning of the FLSA, 29 U.S.C. § 203(s)(1)(a)(ii).
16
                                         (Individual Defendant)
17
     Alicia Fernandez
18
19          33.     Upon information and belief, at all relevant times, Alicia Fernandez,

20   (“Fernandez”) was, at the time of Plaintiffs' employment, owner, member, and authorized
21
     operator, manager, and agent of Corporate Defendants.
22
            34.     At all relevant times throughout Plaintiffs’ employment, Fernandez had the
23
24   discretionary power to create and enforce personnel decisions on behalf of the Corporate

25   Defendants, including but not limited to: hiring and terminating employees; setting and
26   authorizing issuance of wages; maintaining employee records; setting Plaintiffs' schedules; and
27
     otherwise controlling the terms and conditions of the working conditions for the Plaintiff while
28
                                                     5
              Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 6 of 13




     they were employed by Defendants.
 1
 2          35.     At all relevant times throughout Plaintiffs’ employment, Fernandez was actively

 3   involved in the day-to-day operations of the Corporate Defendants.
 4
            36.     At all relevant times throughout Plaintiffs’ employment, Fernandez was a
 5
     "covered employer" within the meaning of the FLSA and the NYLL, and employed or jointly
 6
 7   employed Plaintiffs, and is personally liable for the unpaid wages sought herein, pursuant to 29

 8   U.S.C. § 203(d).
 9                                         FIRST CAUSE OF ACTION
10
                                  Fair Labor Standards Act – Minimum Wages
11
            37.     Plaintiff reallege and incorporate by reference the allegations made in all
12
13   preceding paragraphs as if fully set forth herein.

14          38.     At all relevant times, Plaintiff was employee and employed by Defendants within
15   the meaning of the FLSA, 29 U.S.C. § 203(d), (e)(1), and (g).
16
            39.     At all times relevant, Defendants have been employers of Plaintiff, engaged in
17
     commerce and/or the production of goods for commerce within the meaning of 29 U.S.C. §§203
18
19   (s)(1) and 206 (a).

20          40.     Defendants were required to pay directly to Plaintiff the applicable Federal
21
     minimum wage rate for all hours worked pursuant to 29 U.S.C. § 206.
22
            41.     Plaintiff worked hours for which they were entitled to be paid a regular hourly rate
23
24   of pay, but not less than the statutory minimum wage.

25          42.     Defendants failed to pay Plaintiff his earned minimum wages for all hours worked
26   to which he was entitled to under the FLSA.
27
28
                                                          6
              Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 7 of 13




            43.     As a result of Defendants’ violations of the FLSA, Plaintiff has suffered damages
 1
 2   by being denied minimum wages in accordance with the FLSA in amounts to be determined at

 3   trial, and are entitled to recovery of such amounts, liquidated damages, reasonable attorneys’ fees,
 4
     costs, and other compensation pursuant to 29 U.S.C. §216 (b).
 5
            44.     Defendants’ unlawful conduct, as described in this Complaint, has been willful
 6
 7   and intentional. Defendants were aware, or should have been aware, that the practices described

 8   in this Complaint were unlawful.
 9          45.     Defendants have not made a good faith effort to comply with the FLSA with
10
     respect to the compensation of the Plaintiff.
11
            46.     Defendants failed to post or keep posted conspicuous notices of Plaintiffs' rights
12
13   as required by the U.S. Department of Labor pursuant to 29 C.F.R. § 516.4, further evincing

14   Defendants' lack of good faith.
15          47.     Because Defendants’ violations of the FLSA have been willful, a three-year statute
16
     of limitations applies pursuant to 29 U.S.C. § 255(a).
17
                                         SECOND CAUSE OF ACTION
18
19                            Fair Labor Standards Act – Unpaid Overtime Wages

20          48.     Plaintiff reallege and incorporate by reference the allegations made in all
21
     preceding paragraphs as if fully set forth herein.
22
            49.     The overtime wage provisions set forth in the FLSA, 29 U.S.C. § 207 (a)(1) and
23
24   the supporting federal regulations, apply to Defendants and protect Plaintiff.

25          50.     Defendants have failed to pay Plaintiff overtime wages at a rate of one and one-
26   half times the regular rate at which they were employed for but under no instance less than one
27
28
                                                          7
              Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 8 of 13




     and one-half times the statutory minimum wage for all of the hours that they worked in excess of
 1
 2   fifty (50) hours per workweek.

 3          51.    As a result of Defendants' violations of the FLSA, Plaintiff have been deprived of
 4
     overtime compensation and other wages in amounts to be determined at trial, and are entitled to
 5
     recovery of such amounts, liquidated damages, attorneys' fees, costs, and other compensation
 6
 7   pursuant to 29 U.S.C. § 216 (b).

 8                                        THIRD CAUSE OF ACTION
 9                                    New York Labor Law – Minimum Wage
10
            52.    Plaintiff reallege and incorporate by reference all allegations in all preceding
11
     paragraphs.
12
13          53.    At all relevant times referenced herein, Plaintiff has been employee of Defendants,

14   and Defendants have been employers of Plaintiff within the meaning of the NYLL §§ 190, 651
15   (5), 652, and the supporting New York State Department of Labor Regulations.
16
            54.    The minimum wage provisions of Article 19 of the NYLL and the supporting New
17
     York State Department of Labor Regulations apply to Defendants, and protect Plaintiff.
18
19          55.    From December 31, 2013 to December 30, 2014, the minimum hourly wage in the

20   State of New York was $8.00 and from December 31, 2014, to December 30, 2015, the minimum
21
     hourly wage was $8.75 pursuant to NYLL § 652 and the New York State Department of Labor
22
     Regulations, 12 N.Y.C.R.R. Part 146-1.2.
23
24          56.    Defendants were required to pay Plaintiff no less than the applicable statutory

25   minimum wage for all hours worked under the NYLL § 652 and the supporting New York State
26   Department of Labor regulations, including but not limited to 12 N.Y.C.R.R. Part 146-1.2.
27
28
                                                     8
               Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 9 of 13




             57.    Through their knowing and intentional failure to pay minimum hourly wages to
 1
 2   Plaintiff, Defendants have willfully violated the NYLL Article 19, §§ 650 et seq., and the

 3   supporting New York State Department of Labor Regulations, including, but not limited to 12
 4
     N.Y.C.R.R. Part 146-1.2.
 5
             58.    Defendants also failed to post conspicuous notices of the Plaintiffs' rights under
 6
 7   the law, as required by the NYLL § 661 and the New York State Department of Labor

 8   Regulations, 12 N.Y.C.R.R. Part 146-2.4, further evincing Defendants' lack of good faith.
 9           59.    Due to Defendants’ violations of the NYLL, Plaintiff is entitled to recover from
10
     Defendants their unpaid minimum wages, liquidated damages as provided for by the NYLL,
11
     reasonable attorneys’ fees, costs, and pre-judgment and post-judgment interest.
12
13
14                                    FOURTH CAUSE OF ACTION
                                New York Labor Law – Unpaid Overtime wages
15
16           60.    Plaintiff reallege and incorporate by reference all allegations in all preceding

17   paragraphs.
18
             61.    The overtime wage provisions as set forth in NYLL §§ 190 et seq. and the
19
     supporting New York State Department of Labor Regulations apply to Defendants and protect
20
     Plaintiffs.
21
22           62.    Defendants have failed to pay Plaintiff proper overtime to which they were entitled

23   to at a wage rate of one and one-half times the employee's regular rate but under no instance less
24
     than one and one-half times the statutory minimum wage as defined by the New York State
25
     Department of Labor regulations, including but not limited to 12 N.Y.C.R.R. Part 146-1.4.
26
27           63.    Through their knowing or intentional failure to pay Plaintiff proper overtime

28   wages for hours worked in excess of forty (48) hours per workweek, Defendants have willfully
                                                      9
             Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 10 of 13




     violated the NYLL §§ 190 et seq., and the supporting New York State Department of Labor
 1
 2   Regulations.

 3          64.     Due to Defendants' violations of the NYLL, Plaintiff are entitled to recover from
 4
     Defendants their unpaid overtime wages, liquidated damages as provided for by the NYLL,
 5
     reasonable attorneys' fees and costs of the action, pre-judgment and post-judgment interest.
 6
 7                                        FIFTH CAUSE OF ACTION

 8                  New York Labor Law– Failure to Provide Notice at the Time of Hiring
 9          65.     Plaintiff reallege and incorporate by reference all allegations in all preceding
10
     paragraphs.
11
            66.     Defendants have failed to provide Plaintiff, at the time of hiring, a notice
12
13   containing the rate of pay and basis thereof, whether paid by the hour, shift, day, week, salary,

14   piece, commission, or other; the regular pay day designated by the employer; the physical address
15   of the employer's main office or principal place of business; the telephone number of the
16
     employer, and anything otherwise required by law, in violation of NYLL § 195(1).
17
            67.     Due to Defendants' violations of the NYLL § 195(1), Plaintiff is entitled to recover
18
19   from Defendants statutory damages of fifty dollars ($50) per workweek that the violation

20   occurred, up to a maximum of Five Thousand Dollars ($5,000 and statutory damages of Fifty
21
     dollars ($50) per workday that the violation occurred, up to a maximum of Five Thousand Dollars
22
     ($5,000), thereafter, pursuant to NYLL § 198 (1-b).
23
24                                        SIXTH CAUSE OF ACTION

25                       New York Labor Law– Failure to Provide Wage Statements
26          68.     Plaintiff reallege and incorporate by reference all allegations in all preceding
27
     paragraphs.
28
                                                     10
              Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 11 of 13




             69.     Defendants have failed to provide Plaintiff with accurate wage statements listing
 1
 2   their rate of pay; the period covered; and overtime pay, in violation of NYLL § 195(3).

 3           70.     Due to Defendants’ violations of the NYLL, Plaintiff are entitled to recover from
 4
     Defendants One Hundred Dollars ($100) for each work week that the violations occurred, up to
 5
     a maximum of Two Thousand Five Hundred Dollars ($2,500), and statutory damages of Two
 6
 7   Hundred and Fifty dollars ($250) per workday that the violation occurred, up to a maximum of

 8   Five Thousand Dollars ($5,000), thereafter, pursuant to NYLL § 198 (1-d).
 9                                         DEMAND FOR TRIAL BY JURY
10
             71.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demand
11
     a trial by jury of all issues so triable in this action.
12
13                                               PRAYER FOR RELIEF

14           WHEREFORE, Plaintiff seek the following relief:
15           A.      Issuance of a declaratory judgment that the practices complained of in this
16
     complaint are unlawful under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq., New York
17
     Labor Law, Article 6, §§ 190 et seq., and Article 19, §§ 650 et seq., and the supporting New
18
19   York State Department of Labor Regulations;

20           B.      Unpaid minimum wages, tips, and overtime pay under the FLSA and an
21
     additional and equal amount as liquidated damages pursuant to 29 U.S.C. § 216(b) and the
22
     supporting United States Department of Labor regulations;
23
24           C.      Liquidated damages equal to the amount of all late payments received by

25   Plaintiffs, pursuant to 29 U.S.C.A. § 216(b) and 29 C.F.R. § 790.21;
26           D.      Unpaid minimum wages and overtime wages under NYLL an additional and
27
     equal amount as liquidated damages pursuant to NYLL §198(1-a) and §663(1);
28
                                                          11
             Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 12 of 13




            E.     Liquidated damages equal to the amount of all late payments received by
 1
 2   Plaintiff, pursuant to NYLL § 198 (1-a);

 3          F.     An award of statutory damages for Defendants' failure to provide Plaintiff with a
 4
     wage notice at the time of hiring pursuant to NYLL § 198 (1-b);
 5
            G.     An award of statutory damages for Defendants' failure to provide Plaintiff with
 6
 7   accurate wage statements pursuant to NYLL § 198 (1-d);

 8          H.     An award of front pay, lost compensation, costs and reasonable attorneys' fees,
 9   and liquidated damages.
10
            I.     A permanent injunction requiring Defendants to pay all statutorily required wages
11
     pursuant to the FLSA and NYLL;
12
13          J.     If liquidated damages pursuant to FLSA, 29 U.S.C. § 216(b), are not awarded, an

14   award of prejudgment interest pursuant to 28 U.S.C. § 1961;
15          K.     An award of pre-judgment interest of nine per centum per annum (9%) pursuant
16
     to the New York Civil Practice Law and Rules §§ 5001-5004;
17
            L.     An award of post-judgment interest pursuant to 28 U.S.C. § 1961 and/or the New
18
19   York Civil Practice Law and Rules § 5003;

20          M.     An award of attorney's fees, costs, and further expenses up to fifty dollars,
21
     pursuant to 29 U.S.C. § 216(b), and NYLL §§ 198 and 663(1);
22
            N.     Such other relief as this Court shall deem just and proper.
23
24
25          Dated: New York, New York
                   October 21, 2021
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27
28
                                                    12
     Case 1:21-cv-08631-BCM Document 1 Filed 10/21/21 Page 13 of 13




 1
                                        Respectfully submitted,
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 4
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